                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE

                                                :
TRACY PETERS, et ux.,                           : CIVIL ACTION NO.:
RICHARD PETERS,                                 :
                                                :
                              Plaintiffs,       :
                                                : NOTICE OF REMOVAL AND COPIES OF
       vs.                                      :      ALL PROCESS AND PLEADINGS
                                                :
BATH & BODY WORKS, LLC,                         :
                                                :
                              Defendant.

TO:    United States District Court
       Eastern District of Tennessee

       Pursuant to 28 U.S.C. §§ 1441(a) and 1332, Defendant Bath & Body Works, LLC

(“BBW”), by and through its attorneys, Arnett, Draper & Hagood, LLP, submits this Notice of

Removal from the Law Court for Sullivan County at Bristol, Tennessee, in which the above-

captioned matter is now pending, to the United States District Court for the Eastern District of

Tennessee. In support of said Notice, BBW states as follows:

                                        Nature of Action

       1.     This is a personal injury and loss of consortium action in which plaintiffs, Tracy

Peters, et ux. Richard Peters (“Plaintiff”), allege that Ms. Peters was injured by a candle. (See

Exhibit A- Plaintiff’s complaint). Plaintiff alleges that the candle at issue was manufactured by

BBW. (Id.).

       2.     Plaintiff commenced this action on January 21, 2022, by filing a Civil Complaint

in the Law Court for Sullivan County at Bristol, Tennessee, bearing Case No: C16252(C), and

captioned as above.




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                                      Timeliness of Removal

       3.       BBW was first served in this action with a copy of the summons and complaint,

by way of service upon the Registered Agent, CT Corporation System, 300 Montvue Road,

Knoxville, TN 37919 on February 3, 2022. (See Exhibit B- Summons).

       4.       This Notice of Removal is being filed within thirty (30) days after service of the

original complaint on BBW, and is therefore timely pursuant to 27 U.S.C. § 1446(b).

                                     Amount in Controversy

       5.       In the Complaint, Plaintiff alleges damages in the amount of $2,000,000.00 (See

Ex. A, p. 4).

       6.       Based on the above, it is respectfully submitted that the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

                                     Diversity of Citizenship

       7.       Plaintiff is a Tennessee citizen with a domicile in Tennessee. (See Exhibit A).

Thus, Plaintiff is a citizen of Tennessee and no other state.

       8.       Bath & Body Works, LLC is a limited liability company formed in Delaware with

a principal place of business in Ohio. Bath & Body Works, LLC’s sole member, Retail Store

Operations, Inc., is a corporation formed in Delaware, with a principal place of business in

Ohio. Retail Store Operations, Inc. is wholly-owned by Beauty Specialty Holding, LLC, a

limited liability company formed in Delaware, with a principal place of business in Ohio.

Beauty Specialty Holding, LLC’s sole member, Bath & Body Works, Inc., is a publicly traded

corporation formed in Delaware, with a principal place of business in Ohio.




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                                         Plea for Removal

       9.      Insofar as the amount in controversy is alleged to exceed $75,000 and full

diversity exists between the parties, removal to this court is proper pursuant to 28 U.S.C. §

1332(a) and 28 U.S.C. § 1441(a). Contemporaneously herewith, written notice is given to all

parties and to the Clerk of the Law Court for Sullivan County at Bristol, Tennessee, that this

Notice of Removal is being filed with this Court. A copy of the Notice of Filing Notice of

Removal to be filed in the Law Court for Sullivan County at Bristol, Tennessee, without

attachments, is attached as Exhibit C.

                   Copies of Process and Pleadings Served on Defendants

       10.     True and correct copies of all process, pleadings, and orders served upon BWW

are attached as Exhibits A and B, the Complaint and Summons respectively.

       WHEREFORE, BBW files this Notice of Removal so that the entire state court action

under Case No: C16252(C), now pending in the Law Court for Sullivan County at Bristol,

Tennessee, shall be removed to this Court for all further proceedings.

       This 4th day of March, 2022.

                                      Respectfully submitted,

                                      ARNETT, DRAPER & HAGOOD, LLP

                                      By:    /s/Steven L. Hurdle
                                             Steven L. Hurdle, BPR # 006808
                                             Paul E. Wehmeier, BPR #030400
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing document
has been served upon counsel for all parties as listed below by delivering a true and exact copy
or by placing a true and exact copy of said pleading or document in the United States Mail,
addressed to said counsel’s office, with sufficient postage thereupon to carry the same to its
destination and/or via electronic mail.

              Frank L. Slaughter, Jr.
              The Slaughter Law Firm, PC
              324 6th Street
              Bristol, Tennessee 37620
              Flsjrlaw@yahoo.com

       This 4th day of March, 2022

                                                    /s/Steven L. Hurdle




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